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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


 JENNIFER CHAMPAGNE,                    :
      Plaintiff,                        :
                                        :         No. 3:18-cv-01390 (VLB)
         v.                             :
                                        :
 COLUMBIA DENTAL, P.C.,                 :         March 30, 2022
     Defendant.                         :
                                        :

                          MEMORANDUM OF DECISION ON
              PLAINTIFF’S MOTION FOR ATTORNEYS’ FEES [ECF NO. 122]

        Before the Court is Plaintiff’s Motion for Attorney’s Fees. Plaintiff Jennifer

Champagne brought a Title VII action against her former employer, Defendant

Columbia Dental P.C. (“Columbia Dental”) and secured a jury verdict in her favor

on December 20, 2021. The jury awarded Ms. Champagne $10,000 for emotional

distress and $100,000 in punitive damages. Now Ms. Champagne seeks attorneys’

fees of $50,850.00—that is, 113.00 hours of work at an hourly rate of $450 for

Attorney James Sabatini’s work on this case.         Columbia Dental opposes this

motion. For the following reasons, the Court GRANTS Ms. Champagne’s motion.


   I.         BACKGROUND

        On August 15, 2018, Ms. Jennifer Champagne filed this Title VII action

alleging her former employer, Columbia Dental, sexually harassed her,

discriminated against her, and retaliated against her when she complained about

the sexual harassment, all because of her sex.          (See Dkt. 1 (Compl.).)    Ms.

Champagne sought compensatory damages, back pay, front pay, bonuses,

personal days, lost pension/retirement benefits, emotional distress damages,
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punitive   damages,     reasonable    attorneys’    fees   and   costs,   interest,   job

reinstatement, an injunction to remove adverse information from the personnel file,

and other just relief. (See id. at Prayer for Relief.)

      Columbia Dental moved to dismiss the case in its entirety on September 26,

2018. (See Dkt. 10 (Mot. Dismiss).) Ms. Champagne amended her complaint,

eliminating her claims for gender discrimination and retaliation. (See Dkt. 15 (Am.

Compl.).) Columbia Dental again moved to dismiss on November 21, 2018, (see

Dkt. 16 (Mot. Dismiss Am. Compl.)), which the parties finished briefing by mid-

January 2019, (see Dkts. 20 (Opp’n) & 23 (Supp Opp’n)). The Court denied the

Motion to Dismiss on May 9, 2019. (See Dkt. 28 (Decision).)

      The parties did not raise any discovery issues with the Court. Behind the

scenes, the parties engaged in written discovery and completed four depositions.

(See Dkt. 122 (Mot. Attorney Fees) at Ex. 2 (Fee Ledger).)

      Once discovery closed, Columbia Dental moved for summary judgment on

August 9, 2019. (See Dkt. 33 (Mot. Summ. J.).) Ms. Champagne opposed the

motion, (see Dkt. 36 (Opp’n)), and the Court denied summary judgment on

November 5, 2019, (see Dkt. 37 (Decision)).              As dictated by the operative

Scheduling Order, jury selection was set for April 21, 2020. (Dkt. 24 (Scheduling

Order).)

      On March 16, 2020, the parties submitted the Joint Trial Memorandum,

including Ms. Champagne’s objections to Columbia Dental’s proposed exhibit list.

(See Dkts. 40-48 (JTM, Jury Instr., Verdict Form, Voir Dire, Proposed Orders,

Obj’n).)   Unfortunately, less than two weeks later the District of Connecticut



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postponed all trials due to the COVID-19 pandemic and reset jury selection for June

16, 2020. (See Dkts. 49 (Order) & 50 (Am. Scheduling Order).) Jury selection was

rescheduled an additional four times. (See Dkts. 57, 60, 61, 71 (Am. Scheduling

Orders).) Due to the postponements, the Court twice permitted the parties to

submit a revised Joint Trial Memorandum, which they did on May 8, 2020, (see Dkt.

50, 51-54 (JTM, Jury Instr., Verdict Form)), and—for the final time—on March 25,

2021, (see Dkts. 72-75 (Obj’n, JTM & Amendments)).       The parties also briefed an

additional Motion in limine by Columbia Dental (see Dkts. 88 (Mot. in limine) & 93

(Response).)

      Jury selection and the trial took place over eight days between November 5

and December 2, 2021. On November 30, 2021—after both parties completed their

cases-in-chief—Columbia Dental orally moved for judgment as a matter of law

pursuant to Federal Civil Procedure Rule 50(a). The Court denied the motion from

the bench. (See Dkt. 121 (Decision on Mot. JMOL) at 5.) On December 2, 2021, the

jury concluded Columbia Dental violated Title VII when it sexually harassed Ms.

Champagne and constructively discharged her, awarding her $10,000 in emotional

distress damages and $100,000 in punitive damages. (Dkt. 111 (Verdict).)

      On December 20, 2021, Columbia Dental filed a motion for judgment as a

matter of law under Federal Civil Procedure Rule 50(b). (See Dkt. 119 (Mot. JMOL).)

Ms. Champagne timely opposed this motion, (see Dkt. 120 (Obj’n)), and the Court

ruled in her favor on January 19, 2022 (see Dkt. 121 (Order)). The Court directed

Ms. Champagne to file a Motion for Attorneys’ Fees, if so desired. (Id.) This Motion

for Attorneys’ Fees is now the issue before the Court.



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   II.      DISCUSSION

         Section 2000e—5(k) of Title 42 of the United States Code permits the

prevailing party of a Title VII action to recover “reasonable attorney’s fees

(including expert fees).”     42 U.S.C. § 2000e—5(k).       While the concept of a

“reasonable attorney fee” might seem fairly straightforward, the history of

attorneys’ fees jurisprudence is surprisingly convoluted.

         The jurisprudence begins with two Circuit Court cases. In 1973, the Third

Circuit developed what is commonly known as the two-step “lodestar method”:

first, multiply the attorney’s usual hourly rate by the number of hours billed and,

second, offset the final amount to make sure the fee is reasonable. See Lindy Bros.

Builders, Inc. of Philadelphia v. Am. Radiator & Standard Sanitary Corp., 487 F.2d

161 (3d Cir. 1973). The following year, the Fifth Circuit developed a 12-factor test

to determine a reasonable fee in one step. See Johnson v. Georgia Highway

Express, Inc., 488 F.2d 714 (5th Cir. 1974). These factors, commonly known as

Johnson factors, are: (1) “time and labor required;” (2) “novelty and difficulty of

the questions;” (3) “skill requisite to perform the legal service properly;” (4)

“preclusion of other employment by the attorney due to acceptance of the case;”

(5) “customary fee;” (6) “[w]hether the fee is fixed or contingent;” (7) “[t]ime

limitations imposed by the client or the circumstances;” (8) “amount involved and

the results obtained;” (9) “experience, reputation, and ability of the attorneys;” (10)

“’undesirability’ of the case;” (11) “nature and length of the professional

relationship with the client;” and (12) “[a]wards in similar cases.” Id. at 717-19.




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      Since then, the U.S. Supreme Court has adopted a hybrid between the Third

Circuit’s “lodestar method” and the Fifth Circuit’s 12-factor test, addressing and

re-explaining its precedent numerous times. The Supreme Court first established

this hybrid approach with Hensley v. Eckerhart, 461 U.S. 424 (1983). The first step

in the hybrid approach requires the court to determine “a reasonable hourly rate”

and then multiply it “by the reasonable hours billed,” i.e. the lodestar. See id. at

433. At the second step, the court may offset the final fee under exceptional

circumstances or when the prevailing party enjoys only partial success. See id. at

435-37. In cases following Hensley, the Supreme Court explained that the Johnson

factors can be used at the first stage to calculate the lodestar, but they cannot be

double-counted at the offset stage. See Blum v. Stenson, 465 U.S. 886, 898 (1984);

Pennsylvania v. Delaware Valley Citizen’s Council for Clean Air, 478 U.S. 546, 564-

67 (1986).

      Lower courts proceeded to misinterpret the Supreme Court’s hybrid

approach for years to come. Thankfully, the Second Circuit has provided us with

two cases—Arbor Hill Concerned Citizens Neighborhood Association v. County of

Albany & Albany County Board of Elections, 522 F.3d 182 (2d Cir. 2008) and Lilly v.

City of New York, 934 F.3d 222 (2d Cir. 2019)—that clearly and effectively set forth

the “reasonable attorneys’ fees” analysis.

      In 2008, the Second Circuit tackled the first step of the hybrid approach in

Arbor Hill by clarifying the confusion around how to calculate the “reasonable

hourly rate.” The Second Circuit stated that a “reasonable hourly rate is the rate a

paying client would be willing to pay.” Arbor Hill, 522 F.3d at 190. To determine



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the “reasonable hourly rate,” a lower court should consider all case-specific

variables—including the Johnson factors—“bear[ing] in mind that a reasonable,

paying client wishes to spend the minimum necessary to litigate the case

effectively” and might negotiate with counsel. Id. at 189-90. The Second Circuit

listed the following non-exhaustive factors:

      [1] the complexity and difficulty of the case, [2] the available expertise
      and capacity of the client’s other counsel (if any), [3] the resources
      required to prosecute the case effectively (taking account of the
      resources being marshaled on the other side but not endorsing
      scorched earth tactics), [4] the timing demands of the case, [5]
      whether an attorney might have an interest (independent of that of his
      client) in achieving the ends of the litigation or might initiate the
      representation himself, [6] whether an attorney might have initially
      acted pro bono (such that a client might be aware that the attorney
      expected low or non-existent remuneration), and [7] other returns
      (such as reputation, etc.) that an attorney might expect from the
      representation.

Id. at 184 (numbers inserted). After determining the “reasonable hourly rate,” the

lower court should use it to calculate the “presumptively reasonable fee.” 1

      In 2019, the Second Circuit took Arbor Hill further in Lilly and clarified the

Supreme Court’s hybrid approach at both steps.          First, a district court must

calculate the “presumptively reasonable fee” (i.e., the Hensley Supreme Court’s

definition of “lodestar”). Id. at 230. The district court must determine a “reasonable

hourly rate by considering all pertinent factors, including the Johnson factors,” as

fully fleshed out in Arbor Hill.   Id. at 230.   From there, it must multiply that




1 The Arbor Hill panel suggested using the term “presumptively reasonable fee”
instead of “lodestar,” as the latter definition has shifted overtime and continues to
be a source of confusion. The Second Circuit did recognize, however, that the term
“lodestar” is too entrenched in this doctrine to ever be completely abandoned. See
id. at 190 n.4.

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“reasonable hourly rate” by “the number of hours reasonably expended” to arrive

at the “presumptively reasonable fee.” Id. Second, the court “may, in extraordinary

circumstances, adjust the presumptively reasonable fee” if there is a factor that

should, but has not yet been, considered in determining the reasonable fee. Id.

The Lilly Court approved of the lower court’s fee reduction at the second step to

account for clerical tasks performed by the attorney. See id. at 225.

      With this hybrid approach clarified, the Court now addresses Attorney

Sabatini’s application for reasonable attorneys’ fees.

          A.    Presumptively Reasonable Fee

      As an initial matter, a court may only award attorneys’ fees to the “prevailing

party.” 42 U.S.C. § 2000e—5(k). A “prevailing party” is one who “succeed[s] on

any significant issue in litigation which achieves some of the benefit the parties

sought in bringing the suit.”     Hensley v. Eckerhart, 461 U.S. at 433 (internal

quotation marks omitted). Because the jury ruled in Ms. Champagne’s favor on

liability and awarded her emotional distress and punitive damages, the Court finds

that Ms. Champagne is the “prevailing party.”

                  1.     Reasonable Hourly Rate

      Plaintiff requests that the Court apply an hourly rate of $450 to compensate

her counsel, Attorney Sabatini, who is a managing partner at his employment and

personal injury firm. To support her position, she cites a 14-year old District of

Connecticut Title VII case awarding a partner a $400 hourly rate and New York

district court civil rights cases within the last five years awarding a partner a $450

hourly rate. (See Dkt. 122 (Mot. Atty Fees) at 7.) Plaintiff reasons that a $400 hourly



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rate from 2008 supports a $450 hourly rate in 2022. According to Plaintiff, the

reasons for warranting a $450 hourly rate are a) the fee agreement’s hourly rate of

$450, b) a successful jury trial, and c) the high level of skill required to see a case

through trial.

      Defendant disputes Plaintiff’s arguments and states that all twelve Johnson

factors weigh against awarding a $450 hourly rate.         Defendant contends that

Plaintiff’s hourly rate should be a maximum of $200.

      The Court will now assess all Johnson factors and any other additional

factors that are relevant to this case.

      Time and labor required. Attorney Sabatini represented Plaintiff from her

initial administrative filing in January 2018, through an eight-day trial that

concluded in her favor nearly four years later on December 2, 2021, through post-

verdict briefing, and to the present over the attorneys’ fees issue. (See Dkt. 122 at

3.) Less than 1% of federal lawsuits are decided by a jury. 2 Therefore, Attorney

Sabatini’s work on this case from the earliest to latest stage of a case warrants a

fee at the high range of the prevailing rate.

      Novelty and difficulty of the questions. Plaintiff alleged Columbia Dental

subjected her to sexual harassment and that the resulting hostile work

environment left her with no choice but to quit, a legal term known as constructive

discharge.       Constructive discharge cases are notoriously difficult to prove,

because they require a plaintiff to prove the employer “intentionally creates a work



2   https://www.americanbar.org/news/abanews/aba-news-archives/2020/12/new-
aba-study-explains-why-civil-and-criminal-jury-trials-are-di/

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atmosphere so intolerable that [s]he is forced to quit involuntarily.” Petrosino v.

Bell Atl., 385 F.3d 210 (2d Cir. 2004).      This elevated intent standard makes

constructive discharge claims more difficult to win at trial than the “lesser

included” hostile work environment claim or other employment causes of action.

See generally Green v. Brennan, 578 U.S. 547, 559 (2016) (citing with approval

Pennsylvania State Police v. Suders, 542 U.S. 129, 149 (2004), which described a

hostile-environment constructive discharge as “graver” than its “lesser included

component,” the hostile work environment). Attorney Sabatini’s ability to prove to

a jury that Columbia Dental deliberately created an intolerable environment and

that Plaintiff was left with no choice but to quit is no small feat and warrants a

higher pay rate.

      Skill requisite to perform the legal service properly. This factor warrants pay

at a higher hourly rate for the same reasons as the previous factor. In addition,

trial necessitates the use of skills that need not be performed at other stages of

litigation. This includes raising and responding to objections and presenting a

compelling narrative to a jury.

      Preclusion of other employment by the attorney due to acceptance of the

case. The Court has assessed Attorney Sabatini’s fee ledger, (see Dkt. 122, Ex. 2

(Ledger)), and finds that this case did not preclude Attorney Sabatini from working

on other matters for the majority of this litigation.    That being said, Attorney

Sabatini undoubtedly focused most or all of his attention on this matter as the case

ramped up for trial and during the trial. Because of the relatively few cases that




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are brought to jury verdict and the extent to which trials require a high level of

focus, this factor weighs in favor of a higher rate.

      Customary fee. A reasonable hourly rate typically falls within the hourly fee

range for lawyers with comparable experience in comparable cases that are in the

district where the case is litigated. See Blum v. Stenson, 465 U.S. 886, 895 n.11

(1984) (explaining the “prevailing market rate” is what “prevail[s] in the community

for similar services by lawyers of reasonably comparable skill, experience and

reputation”); Benjamin v. Oxford Health Ins., Inc., 355 F. Supp. 3d 131, 142 (D. Conn.

2019) (same).    In the District of Connecticut, the customary fee for civil rights

litigators, including partners, with extensive experience is $350 to $450 per hour. 3

See e.g., Black v. New England Computer Servs., Inc., No. 3:18-cv-2101 (JAM), 2022

WL 702504, at *7 (D. Conn. Mar. 9, 2022) (finding a named partner with 25 years of

employment experience is entitled to a reasonable hourly rate of $400 to $450); Doe

v. Univ. of Connecticut, 3:20cv92 (MPS), 2021 WL 395817, at *10-11 (D. Conn. Feb.

4, 2021) (finding the reasonable hourly rate for a civil rights attorney with 10 years

of experience is $400); Doe v. East Lyme Bd. of Educ., No. 3:11cv291 (JBA), 2020

WL 1274774, at *2 n.1 (D. Conn. Mar. 17, 2020) (using hourly rate of $350 for partner

litigating student disability case); c.f. S.B. v. Oxford Health Ins., Inc., No. 3:17-cv-

1485 (MPS), 2020 WL 1702223, at *2 (D. Conn. Apr. 8, 2020) (granting a range of

$400 to $450 for experienced ERISA attorneys).



3The parties cited cases from other districts, but the Court finds these are not
particularly helpful given the community-based standard set by the Supreme Court
and the Second Circuit means that the District of Connecticut is its own, unique
market.

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          As Plaintiff pointed out, back in 2008, the District of Connecticut applied an

hourly rate of $400 to a civil rights litigator who secured a favorable jury verdict in

a Title VII case, Pappas v. Watson Wyatt & Company, 3:04CV304 (EBB), 2008 WL

45385 (D. Conn. Jan. 2, 2008). The affidavits from Attorneys Gary Phelan and now-

Magistrate Judge Robert A. Richardson, which were submitted in support of the

partner’s $450 hourly rate fee application, suggest that a partner specializing in

employment law would bill somewhere between $325 and $450 in 2008. See id. at

*3. It has been more than a decade since these hourly rates were submitted, and it

would be reasonable to infer that hourly rates have increased over time. Legal fees

do not just cover the lawyer’s salary—they cover staff salaries, employment

benefits, membership and court fees, and myriad overhead expenses to keep a firm

afloat.     Based on the U.S. Bureau of Labor Statistics’ Consumer Price Index

Inflation Calculator, an hourly rate of $450 in 2008 is the equivalent buying power

to $604.85 in February 2022 (the latest month with available data). 4 The hourly rate

range should therefore increase, because that is what the market requires. Put

another way, this profession must be able to sustain itself. Accordingly, civil

litigators should not be limited to hourly rates that have not adapted to the

changing times.

          Attorney Sabatini is a managing partner who has practiced employment law

since 2004, approximately 18 years. Seventy percent of his caseload is devoted to

employment law. He has tried at least twenty cases before a jury as well as bench



4       The      CPI      Inflation      Calculator           is      available       at
https://www.bls.gov/data/inflation_calculator.htm/.

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trials and arbitrations. (See Dkt. 122, Sabatini Aff. ¶¶ 5-14.) The Court notes that

Attorney Sabatini is associated with several dozen active cases in the District of

Connecticut.    Defense counsel states that Attorney Sabatini should only be

awarded a $200 hourly rate, but counsel provides no evidence (for example,

disclosure of his own billing rate) that such a low hourly rate is customary for

counsel comparable to Attorney Sabatini. Accordingly, given Attorney Sabatini’s

credentials, the lapse of time since the Pappas court awarded a $400 hourly rate,

and the cumulative increase in cost of living, the proposed hourly rate of $450 is

an unassailable fee.

      Whether the fee is fixed or contingent. The relevant fee agreement

contemplates the greater of the two payment methods: either 1/3 of the total value

recovered or the fees billed at the attorney’s hourly rate in the event attorneys’ fees

may be awarded by statute. (See Dkt. 122, Ex. 1) at 14 of PDF.) The latter is the

greater fee here. Ms. Champagne’s fee agreement lists Attorney Sabatini’s hourly

rate as $450. Therefore, Attorney Sabatini is requesting a fee that complies with

the agreement. See Johnson, 488 F.2d at 718 (“In no event, however, should the

litigant be awarded a fee greater than he is contractually bound to pay, if indeed

the attorneys have contracted as to amount.”).

      Time limitations imposed by the client or the circumstances.           Attorney

Sabatini has not informed the Court that this case required “priority work” from the

law firm. Certainly the two-plus weeks of trial work (both pre- and post-trial efforts)

took priority over other actions. But this factor is otherwise neutral.




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      Amount involved and the results obtained. At some point in the litigation,

Plaintiff decided to only seek emotional distress and punitive damages. The jury

awarded Plaintiff $10,000 in emotional distress and $100,000 in punitive damages.

This is not a case involving injunctive relief nor is it a class action lawsuit, which

are measurements for awarding a higher hourly rate. See id. at 718 (“If the decision

corrects across-the-board discrimination affecting a large class of an employer's

employees, the attorney’s fee award should reflect the relief granted.”). However,

Columbia Dental is a multi-office chain with 12 locations across Connecticut. Not

only does Columbia Dental employ a lot of people, but also evidence at trial showed

that Ms. Champagne was not the only person who complained about inappropriate

treatment at the hands of Dr. Stanko. While this this case is not a class action

lawsuit, the punitive damages has the potential to change workplace culture and

improve the work experience for many employees. Therefore, in many respects,

the purpose of awarding a higher hourly rate for combating system-wide

discrimination applies here too.

      Experience, reputation, and ability of the attorneys.        As stated above,

Attorney Sabatini is a managing partner who was admitted to the bar in 1998 and

has been practicing employment law since 2004. Attorney Sabatini did not submit

affidavits from other counsel concerning his experience, reputation, and ability.

But this is not a requirement. For the same reasons that Attorney Sabatini’s

customary fee should be at the high end of the range, his experience, reputation,

and ability also warrant a high fee. Indeed, his success at trial speaks for itself.




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          “Undesirability” of the case. The Court finds that representing a survivor of

sexual harassment is a noteworthy endeavor. This type of representation would

not negatively impact Attorney Sabatini’s reputation in the community and

therefore does not warrant a higher hourly rate.

          Nature and length of the professional relationship with the client. As stated

above, Attorney Sabatini represented Plaintiff from administrative proceedings

through post-verdict briefing. Such representation lasted over four years. This

dedication warrants payment at a higher rate.

          Lastly, the Court considers factors referenced by the Second Circuit that do

not overlap with the Johnson factors. See Lilly, 934 F.3d at 184. The Court finds

that Attorney Sabatini will likely enjoy other returns (such as future business) due

to his trial successes, suggesting his hourly rate need not be increased for this

reason. It is unlikely that he would have taken the case on pro bono and does not

appear to have any interest in the litigation other than serving the needs of his

client.

          After considering all of these above factors, the Court finds that an hourly

rate of $450 is reasonable.

                     2.    Number of Hours Reasonably Expended

          Attorney Sabatini’s firm billed 113.0 hours from initial intake through post-

trial briefing.    When considering administrative proceedings, initial pleadings,

written discovery, depositions, motions-practice, and an eight-day trial, 113.0

hours (of which approximately 26 hours constituted the trial) is highly proficient.

For example, the case team in Pappas included four lawyers who respectively



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worked 359 hours, 110.5 hours, 203 hours, and 20.25 hours, totaling 692.75 hours

from inception to post-trial. See Pappas, 2008 WL 45385, at *1. The case team also

included law clerks and paralegals who worked 41.25 hours and 56.25 hour,

respectively. See id. To the extent that Attorney Sabatini was able to win at trial

as the single lawyer on this case, while expending comparatively minimal hours on

the case, is well within the bounds of reasonable. While Defendant posits the

number of hours should be reduced by 50%, the Court finds this request is arbitrary

and not supported by evidence.

      Defendant argues that Attorney Sabatini’s hours should be reduced by at

least one hour, because he spent one hour drafting an amended complaint. While

the difference between the amended complaint and the initial complaint is merely

the deletion of two counts, the Court finds that a prudent attorney would give at

least an hour of consideration to conduct research, evaluate the strength of each

count, and determine whether it is a strategically sound decision to relinquish two

out of three counts. Accordingly, this one hour does not warrant a reduction.

      For these reasons, the Court finds that Attorney Sabatini reasonably

expended 113.0 hours.

         B.       Extraordinary Circumstance Adjustment

      Neither party contends that extraordinary circumstances existed to warrant

an increase or reduction in fees. The Court does not identify any either.




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   III.      CONCLUSION

          For the above reasons, the Court GRANTS Plaintiff’s Motion for Attorneys’

Fees and finds that a fee of $50,850.00—113.0 hours at an hourly rate of $450—is

reasonable. The Clerk is directed to close this case.

                                               IT IS SO ORDERED.

                                                                         Digitally signed by Vanessa L.
                                               Vanessa L. Bryant Bryant
                                                                 Date: 2022.03.30 10:55:20 -04'00'

                                               Hon. Vanessa L. Bryant
                                               United States District Judge


Dated at Hartford, Connecticut: March 30, 2022.




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